Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 1 of 12




            EXHIBIT 2
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 2 of 12
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 1                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
 2

 3                                            )
       JANSSEN BIOTECH, INC.,                 )
 4     and NEW YORK UNIVERSITY,               )
                                              )
 5                Plaintiffs,                 )
                                              )       Civil Action
 6     v.                                     )       No. 15-CV-10698-MLW
                                              )
 7     CELLTRION HEALTHCARE CO.,              )
       LTD, CELLTRION, INC., and              )
 8     HOSPIRA, INC.,                         )
                                              )
 9                Defendants.                 )
                                              )
10

11

12                       BEFORE THE HONORABLE MARK L. WOLF
                           UNITED STATES DISTRICT JUDGE
13

14                                      HEARING

15                                 January 31, 2018
                                     10:10 a.m.
16

17
                     John J. Moakley United States Courthouse
18                               Courtroom No. 10
                                One Courthouse Way
19                         Boston, Massachusetts 02210

20

21
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     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 3 of 12
                                                                         86




 1     the same way to accomplish substantially the same result, as

 2     the Federal Circuit said in Brilliant Instruments, 707 F. 3d at

 3     1348-49.

 4                In determining whether an accused element falls within

 5     a permissible range of equivalents, the court considers the

 6     totality of the circumstances and distinguishes between a

 7     subtle difference in degree and a clear substantial difference

 8     in kind.    Even when a claim sets precise numerical

 9     concentration limits on its ingredients, an out-of-range

10     concentration may be deemed equivalent if it performs

11     substantially the same chemical function in substantially the

12     same way with substantially the same contribution to the

13     composition's performance despite the concentration difference.

14                For example, in Abbott Labs, 287 F. 3d at 1107,

15     concentration of 68 percent to 90.7 percent of an ingredient

16     was found equivalent to a concentration of 94.5 percent because

17     it performed the same chemical function, producing an equally

18     effective drug product.      This is true as long as two

19     requirements are satisfied.       First, the out-of-range

20     concentration does not function contrary to the expressed

21     language of the specification, which was the situation in my

22     Amazin' Raisin case decided by the Federal Circuit where they

23     found that an item of fruit with a moisture content between 87

24     and 90 percent -- that to find that an item of fruit with a

25     moisture content between 87 to 90 percent is insubstantially
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 4 of 12
                                                                                 87




 1     different from an item of dried fruit with a moisture content

 2     between 10 and 18 percent as claimed in the patent would defy

 3     reason and necessarily render the dry fruit limitation

 4     meaningless.     Second, the specification or prosecution history

 5     must not indicate that the precise range is critical to the

 6     invention.    That's discussed in Conopco, 46 F. 3d 1556 at 1561.

 7                For the reasons that I will describe, Janssen's

 8     experts, Dr. Butler and Dr. Wurm, have the required

 9     element-by-element particularized credible testimony necessary

10     to show infringement under the doctrine of equivalents.            And I

11     mean credible for the purposes of deciding admissibility.            The

12     jury will ultimately decide credibility.         Therefore the

13     testimony is relevant to the pertinent inquiry and will be

14     helpful to the jury.      I find that plaintiff's experts' relevant

15     conclusions reliably follow from the facts known to the experts

16     and the methodology used.

17                As I said earlier, Dr. Butler and Dr. Wurm are each

18     scientists rather than professional witnesses.          They've

19     testified about matters relating to their research over many

20     decades, and this is circumstantial.        And they credibly

21     testified that they did in this case what they would have done

22     if the same questions were presented in the context of a

23     scientific inquiry, not in the context of litigation.             These

24     are circumstantial indicia of reliability, but I've analyzed

25     the issue much more closely.
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 5 of 12
                                                                              88




 1                Dr. Butler addresses each ingredient in the claimed

 2     composition, explains the function he believes it plays in the

 3     claim concentration range.       He also opines that based on his

 4     knowledge of the literature and extensive experience working in

 5     the field of cell culture media, he would expect each

 6     ingredient to perform substantially the same function in

 7     substantially the same way in the HyClone powders.          For each

 8     claimed ingredient he explains that the function of the

 9     corresponding concentration is to provide an amount of the

10     ingredient sufficient to provide its particular metabolic

11     benefit or nutrient for cell growth and antibody production but

12     low enough to avoid adverse effects, such as toxicity to cells

13     or excessive osmolality when combined with other ingredients.

14                This is admissible particularized evidence of the

15     concentration's intended functions because where, as here, the

16     patent specification is silent on the desired function of each

17     ingredient, a person ordinarily skilled in the art like Dr.

18     Butler may testify what such a person ordinarily skilled in the

19     art would understand them to be, as discussed in Intendis at

20     1362.   Even though Dr. Butler could not identify the upper or

21     lower limits for equivalence of any given concentration, he

22     credibly testified that such limits exist and that the accused

23     concentrations are within them.       His testimony therefore does

24     not render the claimed concentrations meaningless; or to put it

25     differently, none of the claims are vitiated.
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 6 of 12
                                                                            89




 1                Cases consistent with this conclusion are Abbott Labs,

 2     287 F. 3d at 1107 and Forest Labs at pages 1309 and 1312.

 3     Yesterday Dr. Butler gave relevant testimony on this point.

 4     It's in the draft transcript at pages 153 to 54 and reflected

 5     on plaintiff's slide 29 today.       Accordingly, Dr. Butler did

 6     not, defendants argue, rely on an erroneous understanding of

 7     equivalents that assumes that the claimed accused products are

 8     insubstantially different just because their overall

 9     performance is the same.

10                Defendants point out that in their depositions Doctors

11     Butler and Wurm both testified that any concentration could

12     work and that ingredients could even be removed if Dr. Wurm's

13     experiments showed that the whole sample medium worked the same

14     for producing cells and antibodies.        A medium that removed a

15     claimed ingredient entirely, at least without an

16     interchangeable substitute, would vitiate the limitation.         The

17     Federal Circuit discussed this in Mylan, 857 F. 3d at 869.

18     However, defense counsel's hypothetical questions asked Dr.

19     Butler to ignore in his deposition his immediately prior

20     testimony that he expected each ingredient to be important and

21     that he thought that removing an ingredient would affect the

22     test results.     That's in his deposition at pages 99 and 106.

23                The fact that Dr. Butler may have applied a legally

24     erroneous standard for equivalence, a scientific standard, not

25     a legal standard, to a hypothetical medium testifying at his
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 7 of 12
                                                                          90




 1     deposition may diminish Dr. Butler's credibility at trial.

 2     However, it does not alter the conclusion that Dr. Butler

 3     applied a legally correct concentration-by-concentration

 4     analysis to the facts of this case.

 5                 Therefore, Dr. Butler's testimony, if reliable, has a

 6     connection to the pertinent inquiry because it provides the

 7     particularized testimony and linking argument necessary to

 8     prove infringement by equivalents.

 9                 I do find it reliable.     As indicated earlier, Dr.

10     Butler first concludes based on his experience and general

11     knowledge of the pertinent literature that the ingredients,

12     each of the ingredients is likely to function similarly in the

13     accused concentration.      Dr. Butler's knowledge and experience,

14     as he has testified, is extensive and is some indicia of the

15     reliability of his views.       As indicated earlier, Professor

16     Salzberg indicates that judges should be reluctant to exclude

17     the testimony of qualified experts or at least careful about

18     doing it.    I of course would do it if I found the requirements

19     for admissibility weren't met, but I've scrutinized them and

20     find they are met.

21                 Second, Dr. Butler grounds his conclusions in reliable

22     academic literature.      In his reply report, Dr. Butler wrote

23     that, "The view that trace element concentration differences of

24     less than an order of magnitude are likely to be insubstantial

25     is reflected in some of my published work," and he cites his
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 8 of 12
                                                                                91




 1     chapter on Serum and Protein-Free Media in Animal Cell Culture,

 2     Cell Engineering, a book, learned treatise.         That Dr. Butler

 3     testifies based on research he's conducted independent of

 4     litigation provides some valuable objective proof that his

 5     testimony comports with the dictates of good science, since,

 6     among other things, experts whose findings flow from existing

 7     research are less likely to have been biased toward a

 8     particular conclusion by the promise of remuneration.             Such

 9     research is conducted so to speak in the usual course of

10     business and must normally satisfy a variety of standards to

11     attract funding and institutional support, as written in the

12     Daubert decision on remand, 43 F. 3d at 1317.

13                At the hearing yesterday Dr. Butler explained that his

14     research referenced the work of Dr. Richard Ham, which Dr. Wurm

15     also described as a classic publication.         He also cited another

16     article he published in 1992 concerning concentrations of

17     phosphate salts that performed a desired function in media.

18     Though the experiments referenced in the publication were not

19     performed on the particular media compositions at issue, Dr.

20     Wurm testified that scientists routinely extrapolate from the

21     plateaus determined in experiments on other media with other

22     cell lines to estimate whether a concentration will work in

23     another composition.      Therefore, these references provide a

24     reliable basis for his conclusion that the concentration

25     differences many times larger than the differences between the
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 9 of 12
                                                                             95




 1     patentee, for example.      However, an expert may compare the

 2     accused product with an embodiment that meets all of the claim

 3     limitations as long as he focuses on the functions and means

 4     contemplated by the specification and can prove that the

 5     accused elements perform them.       That was discussed by the

 6     Federal Circuit in Adams Respiratory, 616 F. 3d 1283 at 1289.

 7     This is what Dr. Wurm did.       Claim 1, as I have previously

 8     construed it, is a comprising claim, meaning that any powder

 9     containing the claimed ingredients may infringe even if others

10     are added.    The claim construction can be found in the August

11     17, 2016 transcript at pages 105 to 115.

12                Dr. Wurm's so-called all-changes variant literally

13     infringes the patent.      Moreover, the 29 added ingredients are

14     either present in the Celltrion medium or described in the

15     patent specification as necessary for culturing the cell type

16     Dr. Wurm used for his test.

17                Defendants also argue that the added ingredients may

18     have skewed the results.      All of the additional ingredients

19     were in the same concentration in every sample tested.

20     However, defendants argue that some ingredients may have

21     performed the functions of the claimed ingredients and masked

22     deficiencies in an accused concentration's performance.           A

23     reliable method must reliably control for alternative

24     explanations for its underlying data, as Judge Becker wrote in

25     Paoli, at 760.     However, Doctors Wurm and Butler need not
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 10 of 12
                                                                                96




 1      exclude with certainty every possible alternative for their

 2      results, as also discussed by Judge Becker in Heller, 156 F. 3d

 3      at 156.    Each is required to give only a reliable explanation

 4      for why such alternative explanations do not change their

 5      opinion.

 6                 While Dr. Wurm could have performed more tests to

 7      control for the influence of the added ingredients, he and Dr.

 8      Butler gave a persuasive explanation for why the tests done

 9      remain scientifically sound and methodologically reliable.

10      They rely in part on Ham's classic generally accepted

11      experiments, which included some undefined ingredients.           The

12      added ingredients, I find, therefore, affect the weight but not

13      the admissibility of their conclusions, a point made in

14      Ruiz-Troche, 161 F. 3d at 85, where the First Circuit held that

15      the possibility that unaccounted for variables influence the

16      expert's analysis affected weight, not admissibility, when

17      other Daubert factors are satisfied.        A similar conclusion was

18      reached in Phillips, 238 Federal Appendix at 542.

19                 By itself, an expert's failure to account for every

20      alternative cause will usually affect the analysis'

21      probativeness, not its admissibility.        As the Supreme Court

22      wrote in Daubert, vigorous cross-examination, presentation of

23      contrary evidence and careful instruction on the burden of

24      proof are the appropriate means of attacking shaky but

25      admissible evidence.
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 11 of 12
                                                                             97




 1                Finally, I note that neither the prosecution history

 2      nor the specification indicate that the precise concentration

 3      ranges claimed in the patent are critical or that they are

 4      inconsistent with the plaintiff's contentions.         I also note

 5      that Dr. Glacken opined only that the additional 29 ingredients

 6      used in the test media may render an ingredient in Claim 1

 7      unnecessary.    He did not state that it does or likely does, and

 8      that sounds somewhat similar to Dr. Butler and Dr. Wurm saying

 9      hypothetically -- certainly Dr. Butler saying hypothetically

10      it's possible that eliminating an ingredient in a concentration

11      in the '083 could have shown no effect, but that's not what he

12      said.   He testified that's not what he expected based on his

13      experience.

14                Nobody argued this, and this isn't material to my

15      analysis, but it is I think something of a commonsense

16      consideration.    If these ingredients in the concentrations in

17      the HyClone powder were not substantially similar and not

18      important to producing cells, I would think the defendants

19      would take them out.     If they're not doing anything or doing

20      anything important in these concentrations, why have this

21      extensive, expensive litigation?       Just take them out and then

22      there's no argument about infringement and none of these

23      fascinating questions.

24                I think I should correct -- although it has nothing to

25      do with the decision I just rendered, but I'm looking at Dr.
     Case 1:17-cv-11008-MLW Document 321-2 Filed 06/04/18 Page 12 of 12
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 1                        CERTIFICATE OF OFFICIAL REPORTER

 2

 3                      I, Kelly Mortellite, Registered Merit Reporter

 4      and Certified Realtime Reporter, in and for the United States

 5      District Court for the District of Massachusetts, do hereby

 6      certify that pursuant to Section 753, Title 28, United States

 7      Code that the foregoing is a true and correct transcript of the

 8      stenographically reported proceedings held in the

 9      above-entitled matter and that the transcript page format is in

10      conformance with the regulations of the Judicial Conference of

11      the United States.

12                            Dated this 12th day of February, 2018.

13

14                            /s/ Kelly Mortellite

15                            _______________________________

16                            Kelly Mortellite, RMR, CRR

17                            Official Court Reporter

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